AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet I


                                                                                                                         F'I EO
                                          UNITED STATES DISTRICT COURTU.S. DI ST'RIC T COURT
                                                                District of Utah
                                                                            )                                    2011 OCT II A l: 43
             UNITED STATES OF AMERICA                                       )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                        )
                                                                                                     DIS l l:; \CT Or' UTMi
                                                                            )
                  WALTER EDMUND BOND
                                                                            )       Case Number:           DUTX21~B~~~fr?~tEF1 <
                                                                            )       USM Number: 37096-081
                                                                            )
                                                                            )        Nathan Crane
                                                                                    Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)            1 and 3 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses :

Title & Section                   Nature of Offense                                                            Offense Ended

 18 U.s.C . § 844(i)               Arson Damaging Property in Interstate Gommerce                                                       1,3




                                                                              5
       The defendant is sentenced as provided in pages 2 through            - - - - of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~Count(s)        2 and 4 of the Indictment               D is      litare   dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.




                                                                            The Honorable Ted Stewart                   Chief Judge
                                                                            Name of Judge                              Title of Judge



                                                                                10/14/2011
                                                                            Date
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              Sheet 2 - lmprisonment

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DEFENDANT: WALTER EDMUND BOND
CASE NUMBER: DUTX210CR000844-001-TS


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
 87 months to run consecutive to sentence imposed in CO




    ~ The court makes the following recommendations to the Bureau of Prisons:

 The Court recommends incarceration in New York for family visitation




    ~ The defendant is remanded to the custody of the United States Marshal.

    o     The defendant shall surrender to the United States Marshal for this district:

          o     at    ______ ____ 0                    a.m .    o    p.m.    on

          o     as notified by the United States Marshal.

    o     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o     before 2 p.m. on

          o     as notified by the United .States Marshal.

          o     as notified by the Probation or Pretrial Services Office.



                                                                    RETURN
I have executed this judgment as follows :




          Defendant delivered on                                                          to

a _ __ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                            By
                                                                                               DEPUTY UNITED STATES MARSHAL
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               Sheet 3 - Supervised Release

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DEFENDANT: WALTER EDMUI\lD BOND
CASE NUMBER: DUTX210CR000844-001-TS
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 36 Months

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons .
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, ifapplicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, ifapplicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as direc.ted by the probatIOn offi~er, the Bureal:l of Prisons, or any state sex offender registration agency in which he or she resides,
          works, IS a student, or was convIcted of a qualIfyIng offense. (Check..i/ applicable.)

D         The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)
          If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedu Ie of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                             ST ANDARD CONDITIONS OF SUPERVISION
     I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
           each month ;
     3)    the defendant shall answer truthfuily all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observea in plain view of the probation officer;                                                  .
 11 )      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permIssIon of the court; and

  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confIrm the
           defendant s compliance with such notification requirement.
•   At) 24 5B   . (Rev. 09/08) Jud gment in a Cri minal Case
                  Sheet 3C - Superv ised Release

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    DEFENDANT: WALTER EDMUND BOND
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                                                  SPECIAL CONDITIONS OF SUPERVISION
      1) Defendant shall not association with the ALF (Animal Liberation Front) or any member either in person, by mail, by
      phone, bye-mail , by third person, or by any other method.

     2) The defendant shall submit his person, residence, office, or vehicle to a search, conducted by the probation office at a
     reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of
     a condition of release ; failure to submit to a search may be grounds for revocation; the defendant shall warn any other
     residents that the premises may be subject to searches pursuant to this condition.
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             Sheet 6 - Schedule of Payments

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                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     r;/   Lump sum payment of $ _ 2_00_._0_0_ _ __ due immediately, balance due

            D      not later than                                      , or
            D      in accordance           D C,         D D,     D       E, or    D F below; or
B     D     Payment to begin immediately (may be combined with                   DC,        D D, or       D F below); or
C     D     Payment in equal                           (e.g., weekly, monthly , quarterly) installments of $                             over a period of
                            (e.g. , months or years), to commence                         (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                          (e.g. , weekly, monthly, quarterly) installments of $                           over a period of
                            (e.g., months or years), to commence                         (e.g. , 30 or 60 days) after release from imprisonment to a
            tenn of supervision; or

E     D     Payment during the tenn of supervised release wi II commence within                (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     ~ Special instructions regarding the payment of criminal monetary penalties:
             Restitution to date in the amount of $10,000 is imposed and payable at a rate of $1 O/month while incarcerated.
             and at a minimum rate of $1 OO/month upon release . Additional restitution costs may be submitted by 12/12/2011.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made throUgh the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (inc luding defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate .




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
